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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: October 08, 2004


 ____________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re:                                         )   Case No. 04-63788
                                               )
TECHNEGLAS, INC.,                              )   Chapter 11
                                               )
                                               )   Judge John E. Hoffman, Jr.
         Debtor.                               )

     FINAL ORDER AUTHORIZING THE REJECTION OF CERTAIN EXECUTORY
                   CONTRACTS AND UNEXPIRED LEASES

                   Upon the motion (the “Motion”)1 of the Debtor for an order authorizing the

 rejection of certain executory contracts and unexpired leases [Docket No. 26] and entry of an

 interim order (the “Interim Order”) by this Court on September 7, 2004 granting the Motion on

 an interim basis [Docket No. 47]; and it appearing that the Notice of the Motion and the Interim

 Order was properly served on September 8, 2004 by regular U.S. mail service, pursuant to the
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 Notice Procedures approved by the Interim Order and that no other and further notice need be

 given; and it appearing that no objection to the Motion has been filed; and it appearing that the

 relief requested is in the best interests of the Debtor’s estate, its creditors, and other parties in

 interest; and it appearing that this Court has jurisdiction over this matter pursuant to 28 U.S.C.

 §§ 157 and 1334; and it appearing that this proceeding is a core proceeding pursuant to 28 U.S.C.

 § 157; and it appearing that venue of this proceeding and this Motion is properly in this district

 pursuant to 28 U.S.C. §§ 1408 and 1409; and after due deliberation and cause appearing therefor;

 it is hereby ORDERED that:

                  1.       The Motion, which was served upon the U.S. Trustee, the Twenty Largest

 Unsecured Creditors, Counsel to the DIP Lender, Counsel to the Unions, and the parties to the

 Rejected Contracts and Leases by overnight delivery or by regular United States mail, postage

 prepaid (as indicated in the list attached to the Motion) on September 1, 2004, is granted.

                  2.       The Rejected Contracts and Leases listed on Exhibit A attached hereto are

 rejected pursuant to section 365(a) of the Bankruptcy Code effective as of September 7, 2004.

                  3.       Nothing in this Order shall prejudice the right of Air Products and

 Chemicals, Inc. (“Air Products”) to assert that its Rejected Contract was terminated prepetition

 and the right of the Debtor to contest any such assertion. Air Products is hereby permitted to

 access the Debtor’s premises in a reasonable manner that does not disrupt the Debtor’s operation,

 for the purposes to maintain, modify, repair, secure, dismantle and/or remove Air Products'

 equipment (with all Air Products' costs and expenses to be the liability of, and paid for by, Air

 Products, subject to such costs being asserted in its rejection damages or other claim), which is

 on Debtor's site in Columbus, Ohio pursuant to such Rejected Contract.


 1   Capitalized terms used but not defined herein shall have the same meanings ascribed to them in the Motion.




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                4.        The Debtor is authorized and empowered to take all actions and execute

 all documents or refrain from any actions necessary or appropriate to implement the relief

 granted in this Order.

                5.        This Court shall retain jurisdiction with respect to all matters arising from

 or related to the implementation of this Order.

                6.        Notwithstanding the possible applicability of Bankruptcy Rules 6004(g),

 7062, 9014, or otherwise, the terms and conditions of this Order shall be immediately effective

 and enforceable upon its entry.

                7.        All time periods set forth in this Order shall be calculated in accordance

 with Bankruptcy Rule 9006(a).

        IT IS SO ORDERED.



 Copies to: Attached List of Affected Parties and Primary Service List #3




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                                      AFFECTED PARTIES


      Air Products and Chemicals, Inc.            Hewlett Packard Finance and Ma
      P.O. Box 360545M                            Attn: Gary Hood
      Pittsburgh, Pennsylvania 15251-0545         15885 Sprague Rd
                                                  Strongsville, Ohio 44136

      BOC Gases                                   Hewlett Packard Finance and Ma
      P.O. Box 360904M                            Attn: Raeann Keyser
      Pittsburgh, Pennsylvania 15259-4274         20 Perimeter Summitt Blvd Mail Stop 501
                                                  Atlanta, Georgia 30319

      Case Credit Corp                            Industrial Fitness
      Leaserite, Dept CH 10197                    4564 Ashview Court
      Palatine, Illinois 60055-0197               Hilliard, Ohio 43026

      Citicorp Vendor Finance, Inc.               Lawson Products, Inc.
      P.O. Box 7247-0371                          51 Hennery Drive
      Philadelphia, Pennsylvania 19170-0371       Mountain Top, Pennsylvania, 18707

      Dempsey Textile Rental                      Lawson Products, Inc.
      1310 Clay Avenue                            51 Hennery Drive
      Dunmore, Pennsylvania 18510                 Mountain Top, Pennsylvania, 18707

      Ford Credit                                 Nextool
      Box 220564                                  P.O. BOX 75515
      Pittsburgh, Pennsylvania 15257-2555         Cleveland, Ohio 44101

      GE Capital Core                             Sheffield Measurement, Inc.
      P.O. Box 642111                             660 South Military Road
      Pittsburgh, Pennsylvania 15264-2111         P.O. Box 1658
                                                  Fond Du Lac, Wisconsin 54936-1658

      Golden Business Machines                    Stauffer Manufacturing Co.
      163-165 Church Street                       P.O. Box 45 Sixth Str.
      Kingston, Pennsylvania 18704 0700           Red Hill, Pennsylvania 18076-0045

      Hewlett Packard Co.                         Toyota Motor Credit Corp
      1900 Garden of the Dos Rd.                  Commercial Finance
      P.O. Box 2197                               P.O. Box 2431
      Colorado Springs, Colorado 80901            Carol Stream, Illinois 60132-2431




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      Verizon Wireless                            Hewlett Packard
      Great Lakes Acct #51044822                  5555 Windward Parkway West
      P.O. Box 790292                             Alpharetta, Georgia 30004
      St. Louis, Missouri 63179-0292

      Verizon Wireless                            Hewlett Packard
      Business Account #51044822                  James Caldwell
      5165 Emerald Parkway                        8000 Foothills Blvd MS5525
      Dublin, Ohio 43017                          Roseville, California 95747

      Verizon Wireless                            Alltell
      P.O. Box 41556                              1400 Spruce St
      Philadelphia, Pennsylvania 19101-1556       Avoca, Pennsylvania 18641

      Verizon Wireless                            Verizon
      P.O. Box 17464                              PO Box 28000
      Baltimore, Maryland 21297-1464              Lehigh Valley, Pennsylvania 18002-8000

      Workhealth                                  Verizon Wireless (Formally Alltel)
      P.O. Box 951451                             1400 Spruce Street
      Cleveland, Ohio 44193                       Avoca, Pennsylvania 18641




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                                         EXHIBIT A

                               Rejected Contracts and Leases

                 Pittston and Columbus Executory Contracts for Rejection

                                                         PRODUCT/SERVICE
                 PO#              VENDOR NAME
                                                              TYPE
            84       0185 Air Products & Chemical Inc.     Oxygen Supply
            46       0274 BOC Gases                              Chemical
            46       0344 BOC Gases                              Chemical
                          Dempsey Textile Rental
            46       0154                                          Misc.
                          Service, Inc.
                          Dempsey Textile Rental
            46       0182                                          Misc.
                          Service, Inc.
            46       0107 Hewlett Packard                Telecommunications
            84       0506 Industrial Fitness               Physical Therapy
            46       0169 Lawson Products, Inc.                    Misc.
            84       0188 MPW Industrial service           Water Treatment
                                                          Tools Consignment
            84       0122 Nextool
                                                              Moldshop
            84       0116 Sheffield Measurement Inc        Condex Machine
                            Stauffer Manufacturing
            46       0172                                          Misc.
                            Company
            84       0038 Toyota Motor Credit Corp.            Forklift Lease
            46       0134 Verizon Wireless               Telecommunications
            84       0419 Workhealth                           Doctor service




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                       Pittston & Columbus Leases for Rejection


         PO #        LESSOR       ITEM             MODEL           SERIAL #

       2002-46-                               621DXT Wheek
                Case Credit      Payloader                 JEE0133929
         740                                  Kiader
                Citicorp
       2002-46-
                Vendor            Forklift    CGC25           C365L-0112-9617
         0696
                Finance, Inc.
                Citicorp
       2002-46-
                Vendor            Forklift    CGC25           C365L-0116-9617
         0696
                Finance, Inc.
                Citicorp
       2002-46-
                Vendor            Forklift    CGC25           C365L-0171-9617
         0696
                Finance, Inc.
                Citicorp
       2002-46-
                Vendor            Forklift    CGC40           C470L-0064-9613
         0696
                Finance, Inc.
                Citicorp
       2002-46-
                Vendor            Forklift    CGC40           C470L-0063-9613
         0696
                Finance, Inc.
                Citicorp
       2002-46-
                Vendor            Forklift    CGC25           C365L-0173-9617
         0696
                Finance, Inc.
                Citicorp
       2002-46-
                Vendor            Forklift    CGC25           C365L-0164-9617
         0696
                Finance, Inc.
       2004-46-
                Ford Credit        Van        Ford Freestar   2FMZA51674BA33677
         0179
       2002-46-
                GE Capital        Forklift    NPR17           NPR345-0311-9517
         0979
       2002-46-
                GE Capital        Forklift    CGC40           CGC 470L-0159-9613
         0979
       2002-46-                                               CGP160L-0316-
                GE Capital        Forklift    CGP-50
         0980                                                 9612GEF
                Golden
       2000-46-                               IR400S
                Business          Copier
         1399                                 (warehouse)
                Machines
                Golden
       2000-46-                               MOJ15913(Mold
                Business          Copier
         1391                                 Shop)
                Machines


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